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              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN

  PHILIP LEE; PAMELA WHITE;
  PATRICIA VANDUSEN;                   Case No. 4:22-cv-12153-SDK-DRG
  RONALD ALLIX; AND RANDY
  WELCH, individually and on behalf    Hon. Shalina D. Kumar
  of all others similarly situated,

                        Plaintiffs,
        v.

  BELVOIR MEDIA GROUP, LLC,

                       Defendant.


              PLAINTIFFS’ RESPONSE IN OPPOSITION TO
               DEFENDANT’S MOTION TO DISMISS THE
             FIRST AMENDED CLASS ACTION COMPLAINT
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                     STATEMENT OF ISSUES PRESENTED

       1.    Was the limitation period applicable to Plaintiffs’ PPPA claim tolled for
 101 days between March 10, 2020 and June 20, 2020 pursuant to Executive Orders
 2020-58 and 2020-122 issued by the Governor of Michigan and Administrative Orders
 2020-3 and 2020-18 issued by the Michigan Supreme Court?

        Plaintiffs’ Answer: Yes.

         2.    Are the First Amended Class Action Complaint’s factual allegations that
 Defendant, during the relevant pre-July 31, 2016 time period, disclosed “Plaintiffs’
 Private Reading Information to data aggregators, data appenders, and/or data
 cooperatives,” as well as “rented or exchanged mailing lists containing Plaintiffs’ Private
 Reading Information to third parties seeking to contact [Defendant’s] subscribers,
 without first obtaining the requisite written consent from Plaintiff” (see First Amended
 Class Action Complaint (ECF No. 16 at ¶¶ 14-18) – allegations which are bolstered by
 a screenshot of Defendant’s data card as it exists today and a recitation of the content
 and a citation to the location of Defendant’s data card in existence during the relevant
 pre-July 31, 2016 time period, in both of which Defendant admits to disclosing its
 customers’ Private Reading Information – sufficient to plausibly suggest an entitlement
 to relief under the version of Michigan’s Preservation of Personal Privacy Act in effect
 through July 30, 2016?

       Plaintiffs’ Answer: Yes.




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          CONTROLLING AND MOST IMPORTANT AUTHORITY

 M.C.L. § 600.5813

 Mich. Executive Order 2020-58

 Mich. Executive Order 2020-122

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 981 F. Supp. 2d 674 (E.D. Mich. 2013)

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       Plaintiffs Phillip Lee, Pamela White, Patricia VanDusen, Ronald Allix, and Randy

 Welch (“Plaintiffs”), individually and on behalf of all others similarly situated, submit

 this response in opposition to Defendant Belvoir Media Group, LLC’s (“Belvoir” or

 “Defendant”) motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6)

 (ECF No. 18) (the “Motion” or “Mot.”).

                                      INTRODUCTION

       In this putative consumer class action, Plaintiffs allege that Defendant violated

 Michigan’s Preservation of Personal Privacy Act (“PPPA”)1 by disclosing, without their

 consent, information that identified them as (inter alia) subscribers to multiple

 publications, including health newsletters, published and sold by Belvoir. On behalf of

 themselves and others similarly situated, Plaintiffs seek to recover $5,000.00, as

 provided by the PPPA, for each of Defendant’s statutory violations.



 1
         The PPPA (occasionally referred to in the caselaw as the “Video Rental Privacy
 Act” or the “VRPA”) is found at H.B. 5331, 84th Leg. Reg. Sess., P.A. No. 378, §§ 1-4
 (Mich. 1988), id. § 5, added by H.B. 4694, 85th Leg. Reg. Sess., P.A. No. 206, § 1 (Mich.
 1989). In May 2016, the Michigan legislature amended the PPPA. See S.B. 490, 98th
 Leg., Reg. Sess., P.A. No. 92 (Mich. 2016) (codified at M.C.L. § 445.1711, et seq.). The
 May 2016 amendment to the PPPA, which became effective on July 31, 2016, does not
 apply retroactively to claims that accrued prior to its July 31, 2016 effective date. See
 Boelter v. Hearst Commc’ns, Inc., 192 F. Supp. 3d 427, 439-41 (S.D.N.Y. 2016) (holding
 that “the amendment to the [PPPA] does not apply to Plaintiffs’ claims, and the Court
 will assess the sufficiency of those claims under the law as it was when Plaintiffs’ claims
 accrued.”) (citing Landgraf v. USI Film Prods., 511 U.S. 244, 286 (1994)). Because the
 claims alleged herein accrued, and thus vested, prior to the July 31, 2016 effective date
 of the amended version of the PPPA, the pre-amendment version of the PPPA applies
 in this case. See Horton v. GameStop Corp., 380 F. Supp. 3d 679, 683 (W.D. Mich. 2018).

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        Defendant moves to dismiss Plaintiffs’ First Amended Class Action Complaint

 (“FAC”) (ECF No. 16) on three grounds: (1) Plaintiffs’ PPPA claims were neither tolled

 pursuant to the Executive and Administrative Orders extending the time to file civil

 actions for violation of Michigan law due to COVID-19 (Mich. Executive Order Nos.

 2020-58 & 2020-122, Mich. Supreme Court Administrative Order Nos. 2020-3 & 2020-

 18, together, the “COVID-19 Orders”), nor tolled during the pendency of the prior

 action entitled Taylor et al. v. Belvoir Media Group, LLC, 1:22-cv-477-HYJ-RSK (W.D.

 Mich.), and are therefore time-barred even under the six-year limitation period found

 in M.C.L. § 600.58132; (2) even if the claim was properly filed within the tolled six-year

 statute of limitations period, Plaintiffs fail to adequately allege that Defendant disclosed

 their information to third parties and thus fail to state a claim under Federal Rules of

 Civil Procedure 12(b)(6); and (3) Plaintiffs lack statutory and Article III standing to sue.

 Each argument is without merit.

        First, the six-year period was tolled for 101 days pursuant to the COVID-19

 Orders, thus rendering any disclosures of Plaintiffs’ personal information that occurred

 between at the very latest June 4, 2016 (six years plus 101 days before the date on which

 this action was initiated) and July 30, 2016 (the last date that the unamended version of




 2
         Defendant concedes that “three judges in this District and one judge in the
 Western District of Michigan agree with Plaintiffs’ position” that a six-year statute of
 limitations applies to PPPA claims. Mot. at PageID.1184 n.14. Nevertheless, Defendant
 baselessly insists that a three-year limitations period applies. Mot. at PageID.1183.

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 the PPPA that Plaintiffs invoke in this case was in effect) actionable in this case.

        Although Plaintiffs also contend that the limitation period was tolled for an

 additional 104 days during the pendency of the Taylor v. Belvoir Media Group, LLC, 1:22-

 cv-477 (W.D. Mich.) action (a prior action brought on behalf of the same putative class

 at issue here (see FAC ¶ 1 n.1)) – rendering any disclosures made between February 21,

 2016 (2,395 days prior to the commencement of the instant action on September 12,

 2022) and July 30, 2016 actionable in this case – the Court need not reach this additional

 basis for tolling in order to deny the Motion because the six-year limitation period, with

 the benefit of tolling pursuant to the COVID-19 Orders (June 4, 2016 through July 30,

 2016), is of a sufficient duration for the Court to conclude that Plaintiffs have

 adequately stated claims for relief that accrued within that time frame, as discussed

 further below.

        Nonetheless, Plaintiffs note that, as explained in footnote 1 to the FAC, M.C.R.

 § 3.501(F)(1) expressly provides that “[t]he statute of limitations is tolled as to all

 persons within the class described in the complaint on the commencement of an action

 asserting a class action.” Cowles v. Bank West, 719 N.W.2d 94, 101 (Mich. 2006) (citing

 M.C.R. § 3.501(F)(1)). Thus, because this action is brought on behalf of the same

 putative class as the Taylor action was brought, the six-year limitation period was tolled

 “as to [Plaintiffs and all other persons] within [that putative class] on the

 commencement of [the Taylor] action[.]” See id.; see also, e.g., Boelter v. Hearst Commnc’ns

 Inc., 269 F. Supp. 3d 172, 187-89 (S.D.N.Y. 2017) (holding that M.C.R. 3.501(F)(1)

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 applies in federal court, and that the statute of limitations for the PPPA claims of

 putative class members is tolled by the filing of a putative class action).

        Additionally, the U.S. Supreme Court’s decision in China Agritech, Inc. v. Resh, 138

 S. Ct. 1800, 1806 (2018), which Defendant fixates on in the Motion, has no applicability

 in this case for several reasons. For one thing, because statutes of limitation and the

 tolling doctrines that go along with them are matters of state substantive law, China

 Agritech’s holdings are limited to federal causes of action, like the federal securities

 claims at issue in that case. Id. at 1804-05. Moreover, even in that limited context, the

 decision’s holdings are inapplicable unless the prior action was dismissed following a

 denial of class certification. Id. at 1805. Here, the statute in question is a Michigan state

 statute, not a federal statute, and in any event class certification was not denied in the

 Taylor action. Thus, China Agritech is plainly inapplicable here, and certainly cannot

 override M.C.R. § 3.501(F)(1), as Defendant would have the Court believe in the

 Motion.

        Again, at this stage, the issue need not be resolved to decide the Motion because

 the FAC adequately states a claim that accrued within the applicable six-year limitation

 period tolled solely by the COVID-19 Orders, as discussed in detail below.

        Second, Plaintiffs adequately state a claim for violation of the PPPA that accrued

 during the relevant pre-July 31, 2016 time period, i.e., between June 4, 2016 and July

 30, 2016. The FAC specifically alleges that, “during the relevant pre-July 31, 2016 time

 period,” Defendant “continuously” and “at least as frequently as once a month,”

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 “rent[ed], exchang[ed], or otherwise disclos[ed] the Private Reading Information of its

 entire database [of] its Michigan-based subscribers,” inclusive of “Plaintiff’s Private

 Reading Information,” to various third parties, including “data aggregators, data

 appenders, data cooperatives, and list brokers, among others,” all without its

 subscribers’ consent. FAC ¶¶ 4, 6, 50-52. And the FAC shoves these allegations across

 the line of plausibility by attaching a screenshot depicting Defendant’s publicly

 accessible “data card” in existence today, which offers for sale Defendant’s customers’

 Private Reading Information “THROUGH 04/30/2022”, by alleging that the same

 data card also existed throughout the relevant pre-July 31, 2016 time period, and by

 reciting the content and citing to the location of Defendant’s data card in existence

 during the relevant pre-July 31, 2016 time period. Id. ¶¶ 2-3 & Ex. A. Additionally, the

 FAC alleges various facts concerning Wiland (the entity responsible for appending data

 to the list offered for sale in the data card described in paragraph 3 of the FAC, which

 was publicly advertised during the relevant time period) showing that Defendant was

 systemically transmitting its entire database of customer information to Wiland on a

 monthly basis during the relevant pre-July 31, 2016 time period, for data appending,

 prospecting, and enhancement services. Id. ¶ 4. Moreover, the FAC alleges that, “[a]s

 a result of [Defendant’s] practices of disclosing Plaintiff’s Private Reading Information

 during the relevant pre-July 31, 2016 time period, Plaintiffs saw a dramatic uptick of

 junk mail in his mailbox . . . over the same time period.” Id. ¶ 7; see also id. ¶ 1.

        Taken together, these factual allegations – which are well-pled and must be

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 accepted as true at this stage of the proceedings – easily state a claim for relief under

 the PPPA. Indeed, numerous courts across the country in other PPPA publication cases

 have overwhelmingly concluded that plaintiffs stated plausible claims for relief based

 on substantially the same facts as alleged in the FAC. See, e.g., Horton v. GameStop Corp.,

 380 F. Supp. 3d 679, 682 (W.D. Mich. 2018); Perlin v. Time Inc., 237 F. Supp. 3d 623,

 642 (E.D. Mich. 2017); Moeller v. Am. Media, Inc., 235 F. Supp. 3d 868, 873 (E.D. Mich.

 2017); Boelter v. Hearst Commc’ns, Inc., 192 F. Supp. 3d 427, 453 (S.D.N.Y. 2016); Boelter

 v. Advance Mag. Publishers Inc., 210 F. Supp. 3d 579, 590 (S.D.N.Y. 2016).

           Third, Plaintiffs have statutory and Article III standing to bring this action in

 federal court. While Defendant posits that Plaintiffs were not customers to any of its

 publications, the FAC adequately alleges otherwise. The Court should reject

 Defendant’s attempt to disprove the facts alleged in the FAC at the pleading stage.

           The Court should deny Defendant’s motion to dismiss in its entirety.

                                       ARGUMENT

      I.      The Six-Year Limitation Period Governing Plaintiffs’ Claims Was
              Tolled for 101 Days Pursuant to the COVID-19 Orders

           The governing six-year limitation period was tolled for 101 days, from March 10,

 2020, through June 20, 2020, pursuant to the COVID-19 Orders.

           Under Michigan law “the Governor’s action [in issuing an Executive Order] has

 the status of enacted legislation.” Straus v. Governor, 592 N.W.2d 53, 57 (Mich. 1999).

 “Pursuant to the Erie doctrine, state statutes of limitations must be applied by federal


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 courts sitting in diversity.” Blaha v. A.H. Robins & Co., 708 F.2d 238, 239 (6th Cir. 1983).

 “Just as limitations periods are taken from state law, so are the rules regarding tolling.”

 Smith v. Hilliard, 578 F. App’x 556, 562 (6th Cir. 2014) (citing Wallace v. Kato, 549 U.S.

 384, 394 (2007)) (“We have generally referred to state law for tolling rules, just as we

 have for the length of statute of limitation.”). Thus, because the Erie doctrine requires

 this Court to apply Michigan statute of limitations and tolling rules, and because the

 COVID-19 Orders have the same status as enacted legislation under Michigan law, the

 Court is compelled to apply the COVID-19 Orders and find that the statute of

 limitations was tolled from March 10, 2020, to June 20, 2020.

        Courts in both Michigan District Courts have held that the COVID-19 Orders

 toll the statute of limitations for Michigan state-law claims. See Bownes v. Borroughs Corp.,

 2021 WL 1921066, at *2 (W.D. Mich. May 13, 2021) (“the Michigan Supreme Court

 tolled the statutes of limitations in Michigan for at least 100 days due to the COVID-

 19 pandemic” and thus “filers shall have the number of days to submit their filings on

 June 20, 2020, as they had when the exclusion went into effect on March 23, 2020”);

 Mackey v. Rising, 2021 WL 4034226, at *2 (E.D. Mich. Sept. 3, 2021) (same); Bowles v.

 Sabree, 2022 WL 141666, at *9 (E.D. Mich. Jan. 14, 2022) (same); see also, e.g., Howard v.

 Onion, 2022 WL 2065950, at *2 (6th Cir. May 17, 2022) (same under Ohio law).

        Without citing to any legal authority, Defendant argues that “the COVID-19

 Orders allow[] only for the tolling of deadlines that fall within the declared states of

 disaster and emergency, which spanned from March 10, 2020 through June 19, 2020.”

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 Mot. at 17, PageID.1180. According to Defendant, “[t]he COVID-19 Orders do not

 apply to Plaintiffs’ claims” because “their deadlines to file their claims fell over two

 years after the end of the COVID-19 tolling period.” Mot. at 18, PageID.1181. The

 argument is baseless and was recently foreclosed by the Michigan Court of Appeals.

       On January 26, 2023, the Michigan Court of Appeals issued a published decision

 addressing the effect of the Michigan Supreme Court’s COVID-19 orders on filing

 deadlines. See Carter v. DTN Mgmt. Co., --- N.W.2d ---, 2023 WL 439760 (Mich. Ct. App.

 Jan. 26, 2023) (Ex. A hereto). In Carter, the defendant argued, and the trial court held,

 that AO 2020-3 applied only to cases whose filing deadlines expired during the state of

 emergency, and that the Michigan Supreme Court has no authority to modify or toll the

 statute of limitations. Carter, 2023 WL 439760, at *2-4. The Court of Appeals rejected

 that argument, holding that the COVID-19 Orders “broadly excluded any day within

 the state of emergency ‘for purposes of determining the deadline applicable to the

 commencement of all civil and probate case types under MCR 1.108(1).’” Id. at *3

 (emphasis in Carter) (citing AO 2020-18); see also id. (“Contrary to the trial court’s

 conclusion, the Supreme Court did not exclude only deadlines that fell during the state

 of emergency. Rather, it more broadly excluded any day within the state of emergency

 ‘for purposes of determining the deadline applicable to the commencement of all civil and

 probate case types under MCR 1.108(1).’” (citing AO 2020-3, emphasis in Carter)). See

 also Linstrom v. Trinity Health-Michigan, --- N.W.2d ----, 2023 WL 1482428, at *6 (Mich.

 Ct. App. Feb. 2, 2023) (concluding the same in another published case).

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        The only thing Defendant cites to in support of this argument is the amendment

 to the PPPA that became effective on July 31, 2016 (after the period at question here),

 Mot. at 19, PageID.1182, an amendment that the Sixth Circuit, the Michigan Supreme

 Court, and numerous federal courts have uniformly held does not apply retroactively.

 See Coulter-Owens v. Time Inc., 695 F. App’x 117, 121 (6th Cir. 2017); In re: Certified Question:

 Deacon v. Pandora, Inc., 885 N.W.2d 628, 630-31 (Mich. 2016); Hearst, 192 F. Supp. 3d at

 439-41. Because the amendment to the statute does not apply retroactively, the

 unamended statute that Plaintiffs invoke here plainly permits the recovery of statutory

 damages. See PPPA § 5(a).

        Defendant points out that, in Wenkel v. Farm Bureau Gen. Ins. Co. of Michigan, 2022

 WL 17364773 (Mich. Ct. App. Dec. 1, 2022), the Michigan Court of Appeals “clarified

 that it interpreted one of the administrative orders ‘as tolling the statute of limitations

 for the commencement of actions and a concomitant tolling of the filing of responsive

 pleadings during the state of emergency.’” Wenkel, 2022 WL 17364773, at *4. But this

 statement by the court in Wenkel is perfectly consistent with the holdings of Carter and

 Lindstrom, as well as the decisions in Bownes, Bowles, and Mackey. Indeed, Wenkel further

 confirms that the COVID-19 Orders “toll[ed] the statute of limitations for the

 commencement of actions . . . during the [101 days of the] state of emergency,” and

 certainly does not state or even suggest that the COVID-19 Orders only served to toll

 any “deadlines” that fell within the emergency period, as Defendant contends. Wenkel,

 2022 WL 17364773, at *4.

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        Defendant then half-heartedly mounts a constitutional challenge to the COVID-

 19 Orders, but this too is unavailing. Relying only on a dissenting opinion, Defendant

 suggests that the Administrative Orders should be held inapplicable for “violating the

 separation of powers provision of the state constitution.” Mot. at 20, PageID.1183 n.13

 (citing Browning v. Buko, 979 N.W.2d 196 (Mich. 2022) (Viviano, J., dissenting)). But, of

 course, dissenting opinions do not control; the majority does. And the Michigan

 Supreme Court majority declined to even consider the appellate court’s decision to deny

 interlocutory appeal to consider the question. Id.; see also id. at 198 (explaining underlying

 procedural posture where probate court applied COVID-19 tolling and appellate court

 declined to grant interlocutory appeal). Moreover, the Carter court also specifically

 rejected the notion that the Administrative Orders are ineffective because the Michigan

 Supreme Court has no authority to modify or toll the statute of limitations. Carter held

 that “[t]he Supreme Court has constitutional authority to ‘establish, modify, amend, and

 simplify the practice and procedure in all courts of this state.’” Carter, 2023 WL 439760,

 at *4 (citing Mich. Const. 1963, art. 6, § 5). But even if the Michigan Supreme Court’s

 COVID-19 tolling Administrative Order did not apply (and it does), Governor

 Whitmer separately issued an Executive Order tolling the statute of limitations for all

 claims due to COVID-19. See Mich. Executive Order 2020-58. And, under Michigan

 law “the Governor’s action [in issuing an Executive Order] has the status of enacted

 legislation.” Straus, 592 N.W.2d at 57, see supra. Simply, there is no basis to decline to

 apply the COVID-19 Orders here.

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           Here, just like in Carter, the six-year limitation period applicable to Plaintiffs’

 claim was tolled for 101 days from March 10, 2020 through June 20, 2020, such that –

 even without the benefit of tolling from the prior Taylor action – any disclosure of

 Plaintiffs’ Private Reading Information by Defendant between June 4, 2016 and July

 30, 2016 is actionable in this case. (Six years is 2,190 days. Six years plus 101 days is

 2,291 days. And the 2,291st day prior to September 12, 2022 (the date the original

 Complaint was filed in this action) was June 4, 2016. See Pratt v. KSE Sportsman Media,

 Inc., 586 F. Supp. 3d 666, 675 n.6 (E.D. Mich. 2022) (calculating limitation period the

 same way)). See, e.g., Carter, 2023 WL 439760, at *3 (“conclud[ing] that plaintiff’s

 complaint was timely filed,” explaining: “On March 10, 2020, plaintiff had 10 months

 left to file her complaint. Accordingly, she had that same amount of time to file

 beginning on June 20, 2020.”).

     II.      The FAC Adequately Alleges That Defendant Disclosed Plaintiffs’
              Private Reading Information in Violation of the PPPA Between June
              4, 2016 and July 30, 2016

           Defendant argues that the FAC “fail[s] to provide sufficient facts from which

 this Court could draw a plausible inference that [Defendant] violated Plaintiffs’ rights

 under the PPPA in 2016.” Mot. at 23, PageID.1186. The argument is without merit.

 The FAC’s allegations more than plausibly demonstrate that Defendant disclosed

 Plaintiffs’ Private Reading Information in violation of the PPPA during the relevant

 pre-July 31, 2016 time period, i.e., between June 4, 2016 and July 31, 2016.

           Review of the FAC is governed by the liberal Rule 8 pleading standard. Plaintiffs

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 are not required to prove their claim with evidence at this time. They must merely allege

 facts that plausibly suggest Defendant violated the PPPA. See, e.g., Zimmerman v. 3M Co.,

 542 F. Supp. 3d 673, 681 (W.D. Mich. 2021).

       “The Michigan [PPPA] prohibits a person, and an employee or agent of the

 person, engaged in the business of selling at retail books or other written materials, from

 disclosing to any person, other than the customer, a record or information concerning

 the purchase of those materials by a customer that indicates the identity of the

 customer.” Boelter, 269 F. Supp. 3d at 177-78 (quoting PPPA § 2) (cleaned up).

       The FAC alleges that during the relevant pre-July 31, 2016 time period,

 Defendant disclosed the Private Reading Information of its Michigan-based

 subscribers, including Plaintiffs and all Class members, to various third-parties,

 including data appenders, data aggregators, list brokers, marketing companies, and

 many others, including without limitation to Wiland. FAC ¶¶ 1-7, 10, 14-18, 50-53, 55,

 70-74. The FAC alleges that, for the duration of the relevant pre-July 31, 2016 time

 period, Defendant “continuously engaged” in these practices (disclosing Defendant’s

 “entire” database of “all” of its customers’ Personal Reading Information to Wiland

 and other third parties), “at least as frequently as once a month,” in order to facilitate

 list appending (i.e., “enhancement” or “modeling” services), list rentals and exchanges,

 and data coop services. Id. ¶¶ 1-7, 10, 14-18, 50-53, 55, 70-74. The FAC corroborates

 these allegations by also alleging that Defendant’s entire customer database (containing

 the personal, PPPA-protected data pertaining to all of its customers, including Plaintiffs

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 and each Class member) was advertised by Defendant for rental and exchange on the

 open market – including specifically on the websites of data brokers Nextmark and

 SRDS, Inc. – throughout the relevant pre-July 31, 2016 time-period, and in fact still is

 advertised on Nextmark’s website today. See id. ¶¶ 2-3 & Ex. A. Plaintiffs bolster these

 factual allegations by including a screenshot of the data card currently listed on data-

 broker Nextmark’s website that offers renters, exchanges, and others the Private

 Reading Information of all of Defendant’s subscribers. FAC ¶ 2, id. Ex. A. This data

 card indicates that the data is cumulative of all subscribers, with “COUNTS

 THROUGH 04/30/2022.” Id.

        Numerous courts across the country, including in this District, have held such

 factual allegations sufficient to state a claim for a violation of the PPPA. See, e.g., Horton,

 380 F. Supp. 3d at 682; Perlin, 237 F. Supp. 3d at 642; Moeller, 235 F. Supp. 3d at 873;

 Hearst, 192 F. Supp. 3d at 453; Boelter, 210 F. Supp. 3d at 590.

        But the FAC does not stop there. The FAC pushes these allegations across the

 line of plausibility by alleging that the same or similar data card attached as Ex. A to the

 FAC also existed throughout the relevant pre-July 31, 2016 time period, and by actually

 reciting the title, content, and advertised subscriber count appearing on that 2016 data

 card, and the URL of the website on which it appeared during that time period. See FAC

 ¶ 3 (“For the entire duration of the relevant pre-July 31, 2016 time period, Belvoir

 offered, through NextMark and other list brokers, including SRDS, Inc., to provide

 renters access to the mailing list titled ‘Belvoir Health Wiland Direct Modeling

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 Masterfile,’ which contained the Private Reading Information of all subscribers to all of

 Belvoir’s health newsletters, at a base price of $110.00/M per thousand, (i.e., 11 cents

 apiece).”) & id. n.3 (“This data card titled ‘Belvoir Health Wiland Direct Modeling

 Masterfile’ was accessible during the relevant pre-July 31, 2016 time period at

 http://www.srds.com/directnet/dnet?action=recoListDetail&mid=956367&unit=0,

 and was assigned the ID number 956367 by SRDS.”). And the FAC describes in detail

 how Defendant, pursuant to a contractual relationship with Wiland in effect during the

 relevant pre-July 31, 2016 time period, was required to, and in fact did, disclose its entire

 customer database (comprised of Plaintiffs’ and all Class members’ Private Reading

 Information) to Wiland “at least as frequently as once a month” for data appending

 (i.e., “enhancement” or “modeling”) and prospecting services. FAC ¶ 4.

        Defendant argues that the FAC fails to plausibly demonstrate that Defendant

 was the source of the Personal Reading Information of its customers that was

 advertised on the data cards (and transmitted to Wiland and the various other types of

 recipients alleged in the FAC) during the relevant time period, or that the disclosed data

 contained the names and addresses of Defendant’s customers. Mot. at 26-27,

 PageID.1188-89. This is simply wrong. The FAC specifically alleges that the customer

 database offered for rental and exchange during the relevant time period (on

 Nextmark’s and SRDS’s websites, among other locations) did contain the names and

 addresses of each of Defendant’s customers and was transmitted to Wiland by Defendant

 on a “continuous and systemic basis,” at least as frequently as once a month, and that

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 the advertised lists were advertised on SRDS’s and Nextmark’s websites on behalf of

 Defendant, and alleges facts rendering these allegations plausible (such as the meaning

 of the information in the “channels” field and Defendant’s authorization of its

 trademark logo to be affixed on the data card). FAC ¶¶ 76, 5 (“The lists advertised for

 sale in the ‘data cards’ referenced above in paragraphs 2 and 3 (and all of the other ‘data

 cards’ advertised by Belvoir between the commencement of the relevant pre-July 31,

 2016 time period and the present) include, inter alia, the full names and addresses of

 each person who purchased a subscription to a Belvoir publication and the title of the

 publication that each of them subscribed to; indeed, the postal-mail envelope logo in

 the ‘channels’ field of the data card (which appeared on all of the data cards referenced

 herein) indicates that the advertised mailing list contains the necessary information (i.e.,

 name and address) for the renters, exchangers, and purchasers of the list to contact the

 subscribers whose information appears on it via postal mail. And the Personal Reading

 Information contained on the mailing lists advertised in the data cards referenced herein

 originates, and throughout the relevant pre-July 31, 2016 time period originated, directly

 from Belvoir prior to being disclosed to the renters, purchasers, and exchangers of this

 data; indeed, all of the data cards referenced in the First Amended Complaint (and in

 existence between the commencement of the relevant pre-July 31, 2016 time period and

 the present) contained Belvoir’s trademarked logo, which Belvoir expressly authorized

 to be affixed thereon.”).

        Moreover, the FAC alleges that “[a]s a result of [Defendant]’s practices of

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 disclosing Plaintiffs’ Private Reading Information during the relevant pre-July 31, 2016

 time period, as alleged herein, Plaintiffs saw a dramatic uptick of junk mail in their

 mailboxes over the same time period.” FAC ¶ 7; see also id. ¶ 1. Taken together, these

 factual allegations—which are well-pled and must be accepted as true at this stage of

 the proceedings—more than adequately state a claim for relief under the PPPA.

       The recent decision in Nashel v. The New York Times, 2022 WL 6775657 (E.D.

 Mich. Oct. 11, 2022), heavily relied upon by Defendant in the Motion, is readily

 distinguishable and, in any event, an outlier that was wrongly decided. The plaintiffs in

 Nashel pointed to data cards “published online in 2007 and 2008” to support their

 allegations that the Defendant disclosed its subscribers’ eight years later during the

 applicable limitation period—and the court in Nashel seized on this “timing issue” in its

 order granting defendant’s motion to dismiss. See Nashel, 2022 WL 6775657, at *1, 5. In

 this case, on the other hand, there is no such “timing issue” because the FAC: (1)

 attaches a copy of the “Belvoir Media Group Elite Masterfile Mailing List” offered for

 sale in 2022 (with “COUNTS THROUGH 04/30/2022”), post-dating the relevant

 pre-July 31, 2016 time period , FAC ¶ 2 & Ex. A; (2) recites the exact title, contents,

 and subscriber count, and cites to the precise URL, of Defendant’s data card offering

 its Wiland-enhanced customer list in existence during the relevant pre-July 31, 2016

 time period , see id. ¶ 3; and (3) alleges that Defendant’s contract with Wiland in effect

 during that time period required Defendant to make transmissions of its entire

 customer database to Wiland at least as frequently as once a month, and that Defendant

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 did exactly that throughout the relevant pre-July 31, 2016 time period. See id. ¶¶ 4, 6, 10,

 14-18, 50-53, 55, 70-74, 76. Thus, the factual allegations of the FAC collectively show

 that Defendant’s practices of systematically disclosing all of its customers’ Private

 Reading Information and other data (to third party data appenders, aggregators, renters,

 and others) were ongoing throughout the relevant pre-July 31, 2016 time period, i.e.,

 between June 4, 2016 and July 30, 2016, and in fact persisted “THROUGH

 04/30/2022.” Id. ¶¶ 1-7, 10, 14-18, 50-53, 55, 70-74, 76 & Ex. A. Therefore, unlike in

 Nashel, where the plaintiff’s allegations of 2015-16 disclosures were unsupported by a

 data card that post-dated that timeframe, here Plaintiffs have attached as an exhibit a

 data card that post-dates the relevant pre-July 31, 2016 time frame, and in fact have

 alleged facts showing that the same or substantially similar data card existed and was

 offered online throughout the relevant pre-July 31, 2016 time period.

        Defendant attempts to sweep under the rug Plaintiffs’ allegations in FAC ¶ 3,

 which detail the data card that existed during the relevant time period in 2016, asserting:

 “However, that data card is not reproduced and the link Plaintiffs provide to it does

 not work.” Mot. at 25, PageID.1188. But it makes no difference that the link does not

 work and that Plaintiffs have not attached a screenshot of the card. Plaintiffs have

 alleged all of the relevant details of the data card and the location where it existed. This

 case is at the pleadings stage. At this stage, the Court must consider all of Plaintiffs’

 factual allegations as true, including those in paragraph 3, and determine whether they,

 together with all inferences drawn from them, in the light most favorable to Plaintiff,

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 plausibly suggest an entitlement to relief. See, e.g., Nat’l Credit Union Admin. Bd. v. Zovko,

 2016 WL 9778195, at *3 (N.D. Ohio July 8, 2016) (“Defendants complain that the

 allegations in and documents attached to the [complaint] were not made with firsthand

 knowledge, and are uncorroborated, unauthenticated and circumstantial . . . Defendants

 seem to be arguing that, because the [complaint] is not based on admissible evidence,

 Plaintiff has failed to meet the Rule 9 particularity standard. If this is their argument, it

 is unsound. The claims in Plaintiff’s [complaint] based on fraud and the facts and

 documents in support of those claims are allegations, not evidence. The admissibility of

 those facts are addressed at an entirely different stage of litigation.”).

        Defendant also attempts to dispense with paragraph 3 of the FAC by arguing

 that “the data card is from a third party, not [Defendant], so their allegations attributing

 any alleged representations on that card to [Defendant] must be disregarded.” Mot. at

 25, PageID.1188. That is a gross mischaracterization of the FAC’s allegations. The FAC

 alleges that was “publicly advertised by [Defendant] during the relevant pre-July 31,

 2016 time period” on Nextmark and SRDS’s websites, and that Defendant offered the

 list for rental and exchange “through Nextmark and other list brokers, including SRDS,

 Inc.,” such that these entities, in maintaining Defendant’s data card on their websites,

 were acting as list brokers who facilitated the rental and exchange of Defendant’s list

 on Defendant’s behalf. See FAC ¶ 3. Thus, contrary to the Mot., the FAC alleges that

 the data card was Defendant’s and the data advertised on it originated from Defendant.

 See id.; see also id. ¶ 5 (“the Private Reading Information contained on the mailing lists

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 advertised in the data cards referenced herein originates, and throughout the relevant

 pre-July 31, 2016 time period originated, directly from [Defendant] prior to being

 disclosed to the renters, purchasers, and exchangers of this data; indeed, all of the data

 cards referenced in this First Amended Complaint (and in existence between the

 commencement of the relevant pre-July 31, 2016 time period and the present)

 contained Belvoir’s trademarked logo, which Belvoir expressly authorized to be affixed

 thereon.”).

        Moreover, Plaintiffs pled numerous additional facts establishing (and at least

 plausibly suggesting) that Defendant was actively and continuously disclosing Plaintiffs’

 and Class members’ (and all of its other customers’) Private Reading Information to

 Wiland on a monthly basis throughout the entire relevant pre-July 31, 2016 period. FAC

 ¶¶ 1-7, 10, 14-18, 50-53, 55, 70-74, 76.

        Indeed, unconstrained by the timing issue related to the data cards identified in

 Nashel, the allegations of the FAC easily state a claim for violation of the PPPA. The

 FAC specifically alleges that Defendant disclosed its entire subscriber database,

 including Plaintiffs’ and all other Michigan customers’ Private Reading Information, to

 data aggregators and appenders, including Wiland, as well as to numerous other third

 parties, on at least as frequently as a monthly basis, during the relevant pre-July 31, 2016

 period. And because the relevant pre-July 31, 2016 period in this case (even without the

 benefit of tolling from the pendency of the Taylor action) is greater than a month

 (specifically, from June 4, 2016 through July 30, 2016), it may reasonably be inferred

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 that Defendant disclosed its subscriber database (comprised of Plaintiffs’ and all Class

 members’, and all of its other customers’, Private Reading Information) at one of those

 monthly (or more frequent) intervals during that time.

        Further, Nashel is an outlier in PPPA jurisprudence and Plaintiffs firmly believe

 it was wrongly decided. The decision applied a pleading standard far more stringent

 than Rule 8 imposes, and required specificity that no PPPA plaintiff could ever satisfy.

 For one, Nashel improperly analyzed the plausibility of the complaint’s allegations. See

 Nashel, 2022 WL 6775657, at *5 (stating that “the data cards make the complaint’s

 allegations merely possible rather than plausible”). This was a plain error. On a motion

 to dismiss pursuant to Rule 12(b)(6), the question is not whether the complaint’s

 allegations are plausible. Instead, the complaint’s allegations must be accepted as true,

 and the question is whether those allegations, viewed together and with all reasonable

 inferences drawn in the plaintiff’s favor, are plausibly suggestive of a claim for relief.

 See, e.g., Doe v. Michigan State Univ., 989 F.3d 418, 425 (6th Cir. 2021). Nashel also recast

 allegations that were plainly factual in nature (e.g., allegations that defendant

 systematically disclosed subscriber lists containing the plaintiff’s Private Reading

 Information to specific third parties over a specific period) as “legal conclusions”

 merely because that underlying conduct happened to give rise to a PPPA claim. See

 Nashel, 2022 WL 6775657, at *5.

        Every other court that presided over similar PPPA actions against publishers of

 written materials, arising from substantially the same allegations as those made here, has

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 held that these allegations adequately stated a claim under the PPPA—including in a

 well-reasoned, published decision from the Hon. Gordon J. Quist in Horton. See Horton,

 380 F. Supp. 3d at 682 (“Given that GameStop possessed the Game Informer subscription

 information and that NextMark purported to sell that information, the implication that

 GameStop disclosed the information to NextMark or other data-mining companies

 passes the threshold of plausibility”); see also Cain v. Redbox Automated Retail, LLC, 981

 F. Supp. 2d 674, 685 (E.D. Mich. 2013) (Rosen, J.).

       Defendant cites a non-binding, unpublished decision in Wheaton v. Apple Inc.,

 2019 WL 5536214 (N.D. Cal. Oct. 25, 2019), Mot. at 27, PageID.1190, but it too is

 readily distinguishable. The FAC contains many factual allegations concerning

 disclosures (made by a publisher—pursuant to standard, industry-wide practices—not

 by a technology company like Apple) that were not alleged in Wheaton. See FAC ¶ 42.

 Moreover, in Wheaton, the plaintiffs alleged PPPA violations arising from alleged

 disclosures of music stored on their phones and relied on NextMark data cards

 advertising the sale of this sort of data to bolster those allegations. Wheaton, 2019 WL

 5536214, at *4. However, the defendant argued that it was not plausible to infer that

 Apple was responsible for disclosing the data offered for sale on the data cards (neither

 directly nor indirectly) because that information (the existence of music on a phone),

 unlike the Private Reading Information at issue in a case against a publisher such as here

 (which is comprised of records concerning the purchases of magazine subscriptions to

 Defendant’s publications); the defendant in Wheaton focused on this distinction,

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 explaining that the information there was “not information that would uniquely come

 from the defendant (as actual lists of the names of who subscribes to a magazine plus

 their delivery addresses would likely come from the magazine publisher).” See Wheaton,

 (N.D. Cal. Sept. 20, 2019) (def.’s reply in support of mot. to dismiss) (Ex. B hereto).

 Here, on the other hand, Defendant does not deny the reasonableness of inferring that

 the rental, sale, or exchange of records reflecting customers’ purchases of subscriptions

 to its publications from Defendant would necessarily have originated from Defendant

 (either directly or indirectly through intermediaries), including during the relevant pre-

 July 31, 2016 period.

       Defendant argues that the version of the Nextmark data card that appears as Ex.

 A to the FAC does not support Plaintiffs’ claim because it references subscriber

 information from 2022, not from the pre-July 31, 2016 period. Mot. at 8, PageID.1171.

 This argument fails for several reasons. For one thing, as discussed extensively above,

 the FAC alleges the precise title, contents, and location of a substantially similar data

 card advertised by Defendant during the relevant pre-July 31, 2016 period, and alleges

 facts showing in detail how the existence of that data card in 2016 confirms that

 Defendant was systematically disclosing its entire subscriber database to Wiland during

 the relevant pre-July 31, 2016 time period on at least as frequently as a monthly basis.

 Moreover, Defendant is mistaken regarding the import of the information on the data

 card shown in Exhibit A. Contrary to its assertion, the data card is cumulative, displaying

 “COUNTS THROUGH 04/30/2022.” FAC ¶ 2 & Ex. A. The current data card,

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 therefore, is consistent with and adds further corroboration to the FAC’s allegations

 concerning the 2016 data card referenced in ¶ 3, as well as to the FAC’s allegations that,

 during the entire relevant pre-July 31, 2016 period, Defendant “continuously”

 transmitted its customers’ Private Reading Information to third party data appenders

 and aggregators (at least once a month) in order to have it enhanced with additional

 demographic and personal data about each subscriber to facilitate further disclosures,

 for more money, to other downstream renters and exchangers. FAC ¶¶ 1-7, 10, 14-18,

 50-53, 55, 70-74, 76. Defendant glosses over these factual allegations and the

 accompanying exhibits in an ill-guided effort to liken this case to Nashel.

       And while Defendant questions the source of the information in the data card,

 the data card itself is currently titled “Belvoir Media Elite Masterfile Mailing List,”

 see FAC ¶ 2 & Ex. A (emphasis added), and during the relevant time period was titled

 “Belvoir Health Wiland Direct Modeling Masterfile,” id. ¶ 3 (emphasis added) – which

 more than plausibly establish that the offered data originated from the Defendant.

 Furthermore, the FAC specifically alleges that “the Personal Reading Information

 contained on the mailing lists advertised in the data cards referenced herein originates,

 and throughout the relevant pre-July 31, 2016 time period originated, directly from

 Belvoir prior to being disclosed to the renters, purchasers, and exchangers of this data;

 indeed, all of the data cards referenced in this First Amended Complaint (and in

 existence between the commencement of the relevant pre-July 31, 2016 time period and

 the present) contained Belvoir’s trademarked logo, which Belvoir expressly authorized

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 to be affixed thereon.” FAC ¶ 5. These factual allegations adequately demonstrate that

 the data advertised on the list was disclosed by Defendant and contained names and

 addresses of all of its customers. Basic common sense also confirms that Defendant is

 the only original source of the list containing the names and addresses of its subscribers.

 See Horton, 380 F. Supp. 3d at 682. As the FAC alleges, Nextmark and SRDS are list

 brokers who advertise on their websites data cards of various publishers, including

 Defendant, in order to broker sales of the advertised data on behalf of its clients. Thus,

 Nextmark and SRDS broker sales of Defendant’s subscribers’ Private Reading

 Information to third parties on behalf of Defendant. The Nextmark and SRDS data

 cards are but two examples of many types of disclosures made by Defendant during the

 relevant period. But the existence of the data card, together with the data card described

 with specificity in ¶ 3 of the FAC and the other factual allegations of the FAC, confirm

 the systematic nature of Defendant’s disclosures practices during the relevant pre-July

 31, 2016 period here.

       Finally, Defendant argues that “[t]he third-party data card, titled ‘Belvoir Media

 Group Elite Masterfile Mailing List,’ does not specify whether information about a

 specific Belvoir publication an individual subscribed would be disclosed—a necessary

 prerequisite of [Private Reading Information] under Plaintiffs’ own definition and the

 PPPA’s requirements.” Mot. at 25-26, PageID.1188-89. This argument fails for several

 reasons. First, even if a disclosure by Defendant of “the specific Belvoir publication to

 which an individual subscribed” was required in order to give rise to an actionable

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 PPPA claim, the FAC alleges that Defendant did in fact disclose the exact titles of the

 publications purchased by each of its customers, including Plaintiffs, and nothing in

 Exhibit A to the FAC demonstrates otherwise. See FAC ¶ 5 (alleging data disclosed

 indicated the “the title of the publication that each of [Defendant’s customers]

 subscribed to”); id. ¶ 10 (“To supplement its revenues, Belvoir rents, exchanges, or

 otherwise discloses all of its customers’ information—including their full names, titles

 of publications subscribed to, and home addresses[.]”). These are well-pled factual

 allegations and they must be accepted as true at this stage of the litigation.

        But more importantly, the premise of Defendant’s argument – that a disclosure

 of a customer’s data is only violative of the PPPA if the disclosure indicated the

 “specific Belvoir publication [to which] an individual subscribed” – is simply wrong as

 a matter of law. Mot. at 26, PageID.1189. The unamended, pre-July 31, 2016 version of

 the PPPA invoked in this case provides, in pertinent part:

               [A] person, or an employee or agent of the person, engaged
               in the business of selling at retail, renting, or lending books
               or other written materials, sound recordings, or video
               recordings shall not disclose to any person, other than the
               customer, a record or information concerning the
               purchase, lease, rental, or borrowing of those materials
               by a customer that indicates the identity of the customer.

 PPPA § 445.1711, 1988 Mich. Legis. Serv. 378 (emphasis added). This is significant,

 because even if exact titles were not disclosed by Defendant (the FAC alleges that they

 were), disclosures of the names and addresses of subscribers to Defendant’s

 publications generally would nonetheless “concern the purchase . . . of [written]

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 materials” from Defendant and would be actionable just the same as if the specific titles

 of publications purchased by each customer were disclosed. In fact, the data card shown

 in Ex. A indicates that “area[s] of interest” data is available for each person who appears

 on the list, thus further corroborating the FAC’s allegations that Defendant disclosed

 the titles of the particular publications purchased. But even a disclosure of Defendant’s

 subscriber list generally (without specific titles or even specific interests) would still

 reveal to the recipient of the data that the persons appearing on the list have an interest

 in the “area” that the magazine to which the person subscribed touches on. This is

 precisely the sort of information the statute was enacted to protect from unauthorized

 disclosure.

       Notably, Defendant does not deny publicly advertising a data card offering to

 rent and exchange all of its subscribers’ Private Reading Information to third parties

 during the relevant pre-July 31, 2016 time period. Nor does Defendant even deny

 systemically disclosing Plaintiffs’ and Class members’ Private Reading Information to

 Wiland, other data appenders and aggregators, or any of the various other types of third

 parties specified in the FAC during the relevant time period. Defendant’s attack on the

 sufficiency of the FAC’s allegations is thus an attempt to evade liability under a statute

 that Defendant itself knows it violated, on the grounds that Plaintiffs’ allegations do

 not conclusively prove a violation with hard evidence. That is not the standard that Rule

 8 imposes. After accepting the FAC’s allegations as true and drawing all reasonable

 inferences from them in Plaintiffs’ favor, it would be reversible error to dismiss this

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 case pursuant to Rule 12(b)(6) given Rule 8’s low bar.

        What Defendant really wants to do is turn the PPPA into a toothless tiger. The

 crux of this lawsuit is that Defendant failed to inform Plaintiffs and the proposed Class

 members that it would disclose their Private Reading Information to others and failed to

 obtain their consent prior to disclosing that information to others. Plaintiffs and the Class

 members cannot possibly be expected to allege the exact dates of each disclosure or all

 of the entities to whom Defendant made these non-consensual, uninformed

 disclosures, absent a reasonable opportunity for discovery. By demanding such

 specificity, Defendant asks the Court to adopt a pleading standard no PPPA plaintiff

 could ever satisfy, emasculating this important consumer protection statute and

 absolving Defendant of its liability under it in the process. This Court need not go

 along. The FAC states a claim, and the Motion should be denied.

    III. Plaintiffs Have Statutory and Article III Standing

        Defendant also asks the Court to dismiss Plaintiffs’ claims pursuant to Rule

 12(b)(1). Mot. at 28-30, PageID 1191-93. According to the Motion and a declaration,

 Plaintiffs did not purchase subscriptions to Defendant’s publications prior to July 31,

 2016, and, on that basis, move to dismiss the FAC for “lack of statutory standing,” as

 well as lack of Article III standing, pursuant to Rule 12(b)(1). This is completely without

 merit. Although the Motion says it is moving to dismiss for lack of statutory standing

 pursuant to Rule 12(b)(1), a motion to dismiss for lack of “statutory standing” is

 necessarily brought pursuant to Rule 12(b)(6). See Amark Logistics, Inc. v. UPS Ground

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 Freight, Inc., 2020 WL 248976, at *3 (N.D. Ohio Jan. 16, 2020) (“the statutory standing

 issue is treated as a failure-to-state-a-claim argument and reviewed under the same

 standard as a motion under Rule 12(b)(6)”); Roberts v. Hamer, 655 F.3d 578, 581 (6th Cir.

 2011) (“Where a plaintiff lacks statutory standing to sue, her claim should be dismissed

 for failure to state a claim upon which relief can be granted, not for lack of subject-

 matter jurisdiction.”). And as previously discussed, the FAC adequately alleges that

 Plaintiffs did in fact purchase subscriptions to Defendant’s publications prior to July

 31, 2016, and that Defendant disclosed their Private Reading Information pertaining to

 those subscriptions to various third parties during the relevant pre-July 31, 2016 period

 in violation of the PPPA. The declaration submitted by Defendant cannot be

 considered by the Court in deciding the Motion; instead, the allegations of the FAC

 must be accepted as true and all reasonable inferences must be drawn in Plaintiffs’ favor.

 See, e.g., Excel Homes, Inc. v. Locricchio, 7 F. Supp. 3d 706, 710 (E.D. Mich. 2014); Directv,

 Inc. v. Treesh, 487 F.3d 471, 476 (6th Cir. 2007). The factual questions concerning

 Plaintiffs’ purchase history are only susceptible to resolution after the parties have had

 a reasonable opportunity to take discovery. Simply: Plaintiffs have adequately alleged

 facts to confer them with “statutory standing” to bring their PPPA claims, and the

 Motion to dismiss on their claims for “lack of statutory standing” should be denied.

        Defendant’s attempt to recast its statutory standing argument as a motion to

 dismiss for lack of Article III standing also fails because, at this stage of the litigation,

 Plaintiffs’ standing is properly considered based on the allegations of the operative FAC

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 as opposed to the substantive merit of their underlying claims for relief. Warth v. Seldin,

 422 U.S. 490, 498 (1975) (“In essence the question of standing is whether the litigant is

 entitled to have the court decide the merits of the dispute or of particular issues.”). So

 for the same reasons Plaintiffs have stated claims for relief, as discussed above, they

 have Article III standing to pursue their claims in this court.

           All of that said, Plaintiffs suspect that Defendant simply searched the wrong

 addresses and, rather than conferring with Plaintiffs’ Counsel on this issue, instead ran

 to the courthouse with a declaration based on incomplete facts. Nonetheless, Plaintiff

 Allix puts forth a declaration attesting to his subscribership to Kitplanes and Cleveland

 Clinic Men’s Health Advisor, prior to July 31, 2016, filed herewith as Ex. C. As for the

 other Plaintiffs, the allegations of the FAC support their standing, but if discovery

 reveals that they are mistaken as to the timing of their subscriptions or otherwise, the

 appropriate remedy is to grant leave to amend to substitute in new class representatives.

 See, e.g., Lin v. Crain Commc’ns, Inc., 2020 WL 2043527, at *1 (E.D. Mich. Apr. 27, 2020)

 (“The Court finds Lin properly sought leave in good faith to add two more plaintiffs

 who were subscribers during the class period. Courts not only may, but should, respond

 to the pre-certification mooting of a class representative’s claims by permitting

 substitution of a new class representative.”) (quotations omitted).

    III.      CONCLUSION

           For the foregoing reasons, the Motion should be denied. And Defendant argues

 that any dismissal in this action should be with prejudice. But “[R]ule 15(a) declares that

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 leave to amend ‘shall be freely given when justice so requires’; this mandate is to be

 heeded.” Foman v. Davis, 371 U.S. 178, 182 (1962). If any part of the FAC is dismissed,

 Plaintiffs respectfully request leave to amend to afford them an opportunity to cure any

 deficiencies in the FAC identified by the Court.

 Dated: February 27, 2023                Respectfully submitted,

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                            CERTIFICATE OF SERVICE
       I hereby certify that on February 27, 2023, I electronically filed the foregoing

 documents using the Court’s electronic filing system, which will notify all counsel of

 record authorized to receive such filings.

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